           Case 4:22-cv-05012-YGR Document 19 Filed 04/21/23 Page 1 of 12



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17 Domingo Aguilar, Kevin Prasad, Malti Prasad, and Wumi Oladipo.

18
                                       UNITED STATES DISTRICT COURT
19
                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
20

21    Curtis L. Briggs, Robert Canny, and Matthew                        Case No.: 22-cv-05012-YGR
      Murillo,
22                                                                       OPPOSITION TO DEFENDANTS’
                                 Plaintiffs,                             ADMINISTRATIVE MOTION TO
23                                                                       CONSIDER WHETHER CASES
                        v.                                               SHOULD BE RELATED
24
      San Mateo County, Carlos Bolanos, Sheriff of
25    San Mateo County, and Frank Dal Porto, Captain
26    of the San Mateo County Sheriff’s Office,

27                               Defendants.

28


                                                                1
     OPPOSITION TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED.   Case No.: 22-cv-05012-YGR
           Case 4:22-cv-05012-YGR Document 19 Filed 04/21/23 Page 2 of 12



 1            A.B.O. Comix, Kenneth Roberts, Zachary Greenberg, Ruben Gonzalez-Magallanes,

 2 Domingo Aguilar, Kevin Prasad, Malti Prasad, and Wumi Oladipo, oppose Defendants’ motion to

 3 relate their case, A.B.O. Comix v. County of San Mateo, No. 4:23-cv-01865-DMR, to the above-

 4 captioned case because they do not show that the cases are related as defined in Civil L.R. 3–12(a).

 5 A.B.O. Comix and Briggs v. County of San Mateo, 4:22-cv-05012-YGR, do not concern

 6 substantially the same parties, and they do not concern substantially the same property, transaction,

 7 or event. Moreover, assigning A.B.O. Comix to a different judge is unlikely to cause unduly

 8 burdensome duplication of labor and expense or to lead to conflicting results.

 9            Plaintiffs believe A.B.O. Comix is related to a different case, Prasad v. Bolanos, No. 4:22-

10 cv-1346-JST, and have filed a separate administrative motion in that case, attached as exhibit A,

11 explaining why. Thus, in addition to the reasons described below, Defendant’s administrative

12 motion should be denied because Prasad is substantially related to A.B.O. Comix.

13       I.       The A.B.O. Comix Case.

14            Plaintiffs in A.B.O. Comix are people incarcerated in jails operated by San Mateo County,
15 their loved ones, and a nonprofit collective that supports those who are incarcerated through artistic

16 expression. Their complaint challenges San Mateo County’s policy of banning physical mail and

17 subjecting the digital copies Defendants make to long-term surveillance. See A.B.O. Comix Compl.

18 (Dkt. No. 16–1, Ex. A) ¶¶ 1–2. On top of depriving Plaintiffs of physical mail, a unique and tactile

19 form of communication, the digitization and destruction of their physical mail violates their
20 expressive, associational, privacy, and religious rights. Id.

21            The policy has also made Plaintiffs’ ability to access mail more difficult and less private.
22 People incarcerated who receive mail must use shared kiosks and tablets, and they must do so in

23 public places and during limited recreation time. Id. ¶ 4. Plaintiffs thus lack the ability to review

24 correspondence in the privacy of their own cells, or to re-read or easily return to correspondence

25 later. Id. And the tablets Defendants provide to Plaintiffs are plagued by technical problems that

26 can prevent plaintiffs from reading their mail at all. Id.

27

28


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     OPPOSITION TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED.   Case No.: 22-cv-05012-YGR
           Case 4:22-cv-05012-YGR Document 19 Filed 04/21/23 Page 3 of 12



 1       II.      The Cases Do Not Involve Substantially the Same Parties or Transaction.

 2             Defendants’ motion should be denied because A.B.O. Comix and Briggs do not involve the
 3 same parties, transactions, events, or property, and do not concern the same aspects of the

 4 underlying technology Defendants are using in San Mateo County’s jails.

 5             The parties in Briggs are not the same as those in A.B.O. Comix. The plaintiffs in Briggs are
 6 all defense attorneys who represent people detained in San Mateo County jails. See Briggs Compl.

 7 (Dkt. No. 1) ¶¶ 6–10. The Briggs plaintiffs challenged San Mateo County’s failure to protect the

 8 confidentiality of attorney-client communications and its plans to digitize physical mail sent by

 9 attorneys “on behalf of themselves and/or attorneys who have and may in the future have clients

10 incarcerated in each of Defendants’ jails . . . .” Id. ¶ 9. The Briggs plaintiffs do not seek to bring

11 claims on behalf of their clients or anyone else incarcerated at the jails. See id. ¶¶ 111–18.

12             There are no attorney plaintiffs in A.B.O. Comix. As stated above, the A.B.O. Comix
13 plaintiffs are individuals incarcerated in the San Mateo Jails, their loved ones, and a nonprofit arts

14 collective. See A.B.O. Comix Compl. (Dkt. No. 1, Ex. A.) ¶¶ 14–21. The A.B.O. Comix plaintiffs

15 challenge the entirety of San Mateo County’s mail digitization program on their own behalf because

16 they are “people and organizations who have been injured by San Mateo County’s mail policy.” Id.

17 ¶ 57. Thus, the Briggs Plaintiffs and A.B.O. Comix Plaintiffs are separate parties whose complaints

18 raise distinct concerns and interests.

19             Briggs and A.B.O. Comix do not concern the same transaction, event, or property, either.
20 Briggs concerns only the Defendants’ policies and procedures for handling attorney-client

21 privileged electronic messages and mail: “This lawsuit is necessary to compel Defendants to

22 implement the attorney-client blocking function [. . .] to stop Defendants’ invasion of attorney client

23 communications.” Briggs Compl. (Dkt. No. 1) ¶ 79.

24             In contrast, A.B.O. Comix concerns Defendants’ harm to non-legal mail that Plaintiffs send
25 and receive. See, e.g., A.B.O. Comix Compl. (Dkt. No. 1, Ex. A.) ¶ 7. In A.B.O. Comix, Plaintiffs

26 allege that Defendants’ digitization and long-term storage of all mail that had traditionally been

27 sent and received via physical correspondence hampers their expression and “enables sophisticated

28 and invasive surveillance of both incarcerated and nonincarcerated people.” Id. A.B.O. Comix thus


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     OPPOSITION TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED.   Case No.: 22-cv-05012-YGR
           Case 4:22-cv-05012-YGR Document 19 Filed 04/21/23 Page 4 of 12



 1 focuses on very different aspects of Defendants’ conduct than those at issue in Briggs. And A.B.O.

 2 Comix has very different theories for how Defendants’ mail digitization harms them.

 3            Defendants’ motion does not explain how the different plaintiffs and distinct issues

 4 described above justify relating A.B.O. Comix to Briggs. Financial Fusion, Inc. v. Ablaise Ltd.,

 5 2006 WL 3734292 (N.D. Cal. Dec. 18, 2006), is inapposite here. That case involved a close

 6 relationship between the plaintiff businesses, which had together sought to relate their cases

 7 because they each had indemnification agreements with a third party accused of patent infringement

 8 by the defendant. See id. at *3. Thus, the plaintiffs in the two cases at issue in Financial Fusion

 9 faced the possibility that without relation, they might be subject to different rulings on whether they

10 were indemnified by the same party concerning the same transaction—infringing the defendant’s

11 patent. Id. But as just described, there is no similar close relationship between the Briggs and A.B.O.

12 Comix plaintiffs. Because the Briggs and A.B.O. Comix plaintiffs seek different relief based on

13 different theories of harm, the concerns about subjecting similarly situated parties to conflicting

14 outcomes are not present.

15 III.       Assigning A.B.O. Comix to a Different Judge Would Not Waste Judicial Resources
              or Lead to Conflicting Results.
16
              Permitting A.B.O. Comix to be heard by another judge than the one assigned to Briggs will
17
     not waste judicial resources because no substantive proceedings or rulings have occurred in Briggs.
18
     The Briggs defendants never responded to the complaint, either via an answer or pre-answer
19
     motion. This Court did not hold an Initial Case Management Conference, and the parties did not
20
     ever file a Joint Case Management Statement because, prior to those deadlines, the parties stipulated
21
     to dismiss the case. See Briggs Dkt. Nos. 12-13 (stipulation and order extending case deadlines);
22
     14-15 (stipulation and order of dismissal).
23
              It is unlikely that this Court had any occasion to consider the facts or legal claims at issue
24
     in Briggs. Plaintiffs in A.B.O. Comix submit that their facts and legal claims are distinct from those
25
     in Briggs. In any event, it does not appear as though this Court has devoted more than minimal
26
     resources to manage an initial stage of the case, suggesting that there would not be much, if any,
27
     judicial economy served by relating A.B.O. Comix to Briggs.
28


                                                                4
     OPPOSITION TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED.   Case No.: 22-cv-05012-YGR
           Case 4:22-cv-05012-YGR Document 19 Filed 04/21/23 Page 5 of 12



 1            Defendants’ argument that it is irrelevant that Briggs is no longer pending misses the mark.

 2 This factor of relatedness protects scarce judicial resources. Yet the fact that Briggs was dismissed

 3 at such an early stage without any dispositive motion from the parties or any related orders from

 4 the Court augurs in favor of keeping A.B.O. Comix separate from Briggs.

 5            Defendants’ reliance on Dave Drilling Envtl. Eng’g, Inc. v. Gamblin, 2015 WL 4051968

 6 (N.D. Cal. July 2, 2015), is misplaced for the reasons described above. There, the defendant in the

 7 first-filed case had already filed a motion to dismiss and the plaintiffs had twice amended their

 8 complaint prior to the filing of the subsequent case. Id. at *1. The procedural posture of the first

 9 case was different than in Briggs and had already expended significant resources of the court

10 hearing it. Moreover, that case involved gamesmanship by the plaintiffs in an apparent attempt to

11 conceal the related nature of that earlier-filed case. No such misconduct is present here. Indeed, as

12 described above, the A.B.O. Comix plaintiffs have sought to relate their case to a different

13 proceeding, the Prasad case. Plaintiffs dispute that a similar relationship exists with Briggs.

14            Finally, Our Children’s Earth Foundation v. National Marine Fisheries Service, 2015 WL

15 4452136 (N.D. Cal. July 20, 2015) is of even less relevance. The court related the cases at issue

16 because they concerned similar Freedom of Information Act requests by plaintiffs seeking roughly

17 the same records from the same federal agency. Id. at *12. The motion to relate was filed around

18 the same time as the parties cross-moved for summary judgment, a much later stage in a case that

19 involved significantly greater resources than those expended in Briggs. See id. at *2–12 (granting
20 in part and denying in part the cross-motions for summary judgment). Because there have been no

21 similarly advanced proceedings in Briggs, there is no duplication of labor in having A.B.O. Comix

22 heard by a different court.

23            ///

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     OPPOSITION TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED.   Case No.: 22-cv-05012-YGR
           Case 4:22-cv-05012-YGR Document 19 Filed 04/21/23 Page 6 of 12



 1                                                    CONCLUSION

 2
              For the foregoing reasons, Plaintiffs in A.B.O. Comix respectfully request that the Court
 3
     deny Defendants’ motion to relate A.B.O. Comix to Briggs.
 4

 5
      DATED: April 21, 2023                                      Respectfully submitted,
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     OPPOSITION TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED.   Case No.: 22-cv-05012-YGR
Case 4:22-cv-05012-YGR Document 19 Filed 04/21/23 Page 7 of 12




                      EXHIBIT A
            Case
             Case4:22-cv-05012-YGR
                  4:22-cv-01346-JST Document 19
                                             24 Filed 04/21/23 Page 81 of 12
                                                                          5




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11     **Application for Admission Pro Hac Vice
       Forthcoming
12

13                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
14                                 OAKLAND DIVISION

15
     KEVIN PRASAD,                                      Case No. 4:22-cv-01346-JST
16
                   Plaintiff,                           ADMINISTRATIVE MOTION TO
17
                                                        CONSIDER WHETHER CASES
            v.                                          SHOULD BE RELATED PURSUANT
18
                                                        TO LOCAL RULES 3-12 AND 7-11
19   CARLOS G. BOLANOS, et al.,

20                 Defendants.

21

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28
     ADMIN. MOT. RE RELATED CASES                 1                   Case No. 4:22-cv-01346-JST
              Case
               Case4:22-cv-05012-YGR
                    4:22-cv-01346-JST Document 19
                                               24 Filed 04/21/23 Page 92 of 12
                                                                            5




 1                                   ADMINISTRATIVE MOTION
 2          Pursuant to Civil Local Rules 3-12 and 7-11, Plaintiffs in the recently removed action
 3   A.B.O. Comix v. County of San Mateo, No. 4:23-cv-01865-DMR, file this administrative motion
 4   asking the Court to consider whether that case should be related to Prasad v. Bolanos, No. 4:22-
 5   cv-01346-JST, a case Mr. Prasad voluntarily dismissed on March 27, 2023. As explained in the
 6   attached Declaration of Aaron Mackey, counsel for Plaintiffs in A.B.O. Comix notified counsel for
 7   Defendants via email of their intent to file this motion, seeking a stipulation as required by Civil
 8   Local Rule 7-11(a). Defendants’ counsel informed Plaintiffs that Defendants would not stipulate
 9   that the cases were related.
10      I. THE TWO ACTIONS ARE RELATED.
11          Both requirements of the Rule 3-12(a) of the Northern District of California’s Civil Local
12   Rules are satisfied here: “(1) The actions concern substantially the same parties, property,
13   transaction, or event; and (2) It appears likely that there will be an unduly burdensome duplication
14   of labor and expense or conflicting results if the cases are conducted before different Judges.” See
15   N.D. Cal. Civ. L.R. 3-12(a).
16              A. Both actions concern substantially the same parties, property, and events.
17          The parties, property, and events at the heart of A.B.O. Comix and Prasad are substantially
18   the same, for four reasons.
19          First, the actions involve the same parties. Both actions involve Plaintiff Kevin Prasad, and
20   both actions name the Sheriff of San Mateo County as a Defendant. See Prasad Am. Compl. 1,
21   ECF. No. 14; A.B.O. Comix Compl. ¶¶ 19, 22–23, 78–81, Ex. A. Although a new sheriff took
22   office between the time Mr. Prasad filed his amended complaint in Prasad and when Plaintiffs
23   filed the complaint in A.B.O. Comix, both actions were brought against the San Mateo County
24   sheriff for official-capacity conduct. See Prasad Order 3, March 14, 2023, ECF No. 19 (explaining
25   that Mr. Prasad stated “a cognizable First Amendment claim against defendant SMCSO’s Sheriff
26   Carlos Bolanos,” citing case law holding that a sheriff could be liable for the implementation of a
27   deficient policy); A.B.O. Comix Compl. ¶ 23 (explaining that Sheriff Corpus “is sued in her official
28   capacity only”).
     ADMIN. MOT. RE RELATED CASES                     2                    Case No. 4:22-cv-01346-JST
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               Case4:22-cv-05012-YGR
                     4:22-cv-01346-JST Document
                                        Document19
                                                 24 Filed
                                                     Filed04/21/23
                                                           04/21/23 Page
                                                                     Page10
                                                                          3 of
                                                                            of 512




 1            Second, the actions involve largely the same facts and events. Both actions challenge
 2   Defendants’ policy of destroying mail sent to people in its jails—depriving them of physical letters,
 3   drawings, pictures, and mementos. Mr. Prasad, for example, alleged that the Sheriff’s Office “is
 4   currently implementing an unconstitutional policy of banning any and all correspondence (with
 5   the exception of legal correspondence) from entering the facility, with no penological interest
 6   shown.” See Prasad Am. Compl. 3:5–21. Likewise, Plaintiffs in A.B.O. Comix allege that San
 7   Mateo County implemented a policy of “digitizing then destroying mail sent to people in its jails
 8   . . . and of conducting suspicionless surveillance of that mail and the individuals who send it,”
 9   A.B.O. Comix Compl. ¶ 1, Ex. A, and that this policy “serves no legitimate penological purpose,”
10   id. ¶ 8. Both actions explicitly challenge this policy as it pertains to general incoming mail—
11   including personal mail and educational and religious correspondence—rather than legal mail. See
12   Prasad Am. Compl. 3:5–21 (explaining that he does not challenge the treatment of “legal
13   correspondence”); A.B.O. Comix Compl. ¶ 1 (same).
14            Third, the actions involve the same claims. Mr. Prasad’s initial complaint alleged that the
15   County’s mail policy “is a constitutional First Amendment violation [that] denies Plaintiff U.S.
16   postal mail.” See Prasad Compl. 2, ECF No. 1. This Court “liberally construed” the allegations in
17   Mr. Prasad’s Amended Complaint to encompass “a cognizable First Amendment claim.” See
18   Prasad Order 3, March 14, 2023. In A.B.O. Comix, Plaintiffs similarly raise freedom of speech
19   claims under the First Amendment and the California Constitution. See A.B.O. Comix Compl. ¶¶
20   88–90.
21            Fourth, the actions seek the same relief. Mr. Prasad’s Amended Complaint sought the
22   restoration of physical mail at San Mateo County’s jails, see Prasad Am. Compl. 6:1–5, and
23   Plaintiffs in A.B.O. Comix seek an injunction preventing Defendants from “digitizing and
24   subsequently destroying incoming mail” and from “denying incarcerated people access to physical
25   copies of their mail,” A.B.O. Comix Compl. 30:3–6.
26            For these reasons, Prasad and A.B.O. Comix concern substantially the same parties,
27   property, and events, and are far more similar in nature than other cases filed in this District
28
     ADMIN. MOT. RE RELATED CASES                      3                   Case No. 4:22-cv-01346-JST
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              Case4:22-cv-05012-YGR
                    4:22-cv-01346-JST Document
                                       Document19
                                                24 Filed
                                                    Filed04/21/23
                                                          04/21/23 Page
                                                                    Page11
                                                                         4 of
                                                                           of 512




 1   challenging the County’s treatment of legal mail. See, e.g., Briggs v. San Mateo Cnty., 4:22-cv-
 2   05012-YGR. 1
 3              B. There will likely be an unduly burdensome duplication of labor and expense
                   or conflicting results if the cases are conducted before different Judges.
 4
             Declining to treat A.B.O. Comix as related to Prasad risks the unduly burdensome
 5
     duplication of labor and conflicting results. Although Prasad was voluntarily dismissed on March
 6
     27, 2023, this Court had already made preliminary rulings in that case that are relevant to A.B.O.
 7
     Comix v. County of San Mateo. For example, in this Court’s screening of Mr. Prasad’s Amended
 8
     Complaint under 28 U.S.C. § 1915A, it held that “the operative complaint states a cognizable First
 9
     Amendment claim against defendant Sheriff Carlos Bolanos.” See Prasad Order 4, March 14,
10
     2023. To reach this conclusion, this Court had to familiarize itself with the relevant First
11
     Amendment caselaw, see id. at 3, as well as the factual background concerning the County’s
12
     decision to ban physical mail, id. at 2. Because this Court has already familiarized itself with the
13
     relevant facts and entered preliminary legal decisions in Prasad, relating the two cases would
14
     promote judicial economy and avoid the risk of conflicting findings.
15
           II. CONCLUSION
16
             For the foregoing reasons, the A.B.O. Comix Plaintiffs respectfully request that A.B.O.
17
     Comix v. County of San Mateo, No. 4:23-cv-01865, be related to Prasad v. Bolanos, No. 4:22-cv-
18
     01346-JST.
19
     ///
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21
        1
          Plaintiffs are aware of two other cases challenging the County’s mail policy that were filed on
22
     the same day or the day before Prasad and received lower-numbered case captions. See Johnson
23   v. San Mateo Cnty., No. 5:22-cv-01342; Majors v. Pine, No. 3:22-cv-01343. Neither of these cases
     involved Plaintiffs or Defendants, as the defendants in Johnson and Majors were the individuals
24   serving on the San Mateo County Board of Supervisors rather than the County itself. See Johnson
     Compl. 2, Johnson v. San Mateo Cnty., No. 5:22-cv-03152, ECF No. 1; Majors Compl. 2, Majors
25   v. Pine, No. 3:22-cv-01343, ECF No. 1. Additionally, neither case involved the same level of
26   judicial involvement as Prasad: Majors was dismissed for failure to prosecute, see Order 1, Majors
     v. Pine, No. 3:22-cv-01343, July 26, 2022, ECF No. 12, while Johnson was dismissed after the
27   plaintiff elected not to file an amended complaint, see Order 1, Aug. 24, 2022, Johnson v. San
     Mateo Cnty., No. 5:22-cv-01342, ECF No. 9. For these reasons, neither Johnson nor Majors meet
28   the criteria for relation to the extent that Prasad does.
     ADMIN. MOT. RE RELATED CASES                     4                    Case No. 4:22-cv-01346-JST
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            Case4:22-cv-05012-YGR
                  4:22-cv-01346-JST Document
                                     Document19
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                                                                       5 of
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19                                           Kevin Prasad, Malti Prasad, and Wumi
                                             Oladipo
20

21                                           **Application for Admission Pro Hac Vice
                                             Forthcoming
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     ADMIN. MOT. RE RELATED CASES           5                  Case No. 4:22-cv-01346-JST
